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 I, Keith Wilson, being duly sworn, depose and state as follows:



 1. Your affiant, Keith Wilson, is a Special Agent (SA) with the Bureau of Alcohol, Tobacco,

    Firearms and Explosives (ATF), United States Department of Justice, Denver, Colorado. Your

    affiant is an investigative or law enforcement officer of the United States, within the meaning

    of Title 18, United States Code, Section 2510(7), that is an officer of the United States

    empowered by law to conduct investigations of, and to make arrests for, offenses enumerated

    by statute in the United States Code, and the Colorado Statutory Code. Your affiant is

    authorized under the Federal Rules of Criminal Procedure, Rule 41(a)(1)(C) as a Federal law

    enforcement officer who is engaged in enforcing the criminal laws, and is within any category

    of officers authorized by the Attorney General to request a search warrant.



 2. Your affiant has been employed as a Special Agent with ATF for (3) three years. Your affiant’s

    primary duties consist of the enforcement of federal firearms laws, armed narcotics trafficking,

    and conspiracy laws. Your affiant has conducted over (45) forty investigations regarding

    federal firearms laws, armed narcotics trafficking, and conspiracy laws as an ATF Special

    Agent. Your affiant has also conducted and/or participated in such investigations as a sworn

    police officer in the State of Oregon. Prior to becoming an ATF Special Agent, your affiant

    was employed as a police officer with the Lake Oswego Police Department, Oregon, for

    approximately (4) four years. While at the Lake Oswego Police Department, your affiant

    assisted in the apprehension and investigation of individuals involved in serious violent crime

    to include but not limited to, Home Invasion, Robbery (armed and strong arm), Aggravated
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    Assault and Assaults, Narcotics Crimes to include Manufacture, Distribution and Possession

    of Controlled Substance, Unlawful Possession of Dangerous Weapons, and Unlawful

    Discharge of Firearms & Reckless Endangerment. Your affiant has written and participated in

    the execution of several federal search warrants involving firearms and narcotics and written

    approximately twenty (20) federal and state search warrants involving violent crime against

    persons, crimes against property, crimes involving narcotics, and alcohol.



 3. This affidavit is made in support of an application for a search warrant for the following

    apartment: 4255 Kittredge Street Apartment 1511, Denver, CO (hereinafter referred to as

    TARGET LOCATION).



 4. As an ATF Special Agent, your affiant is familiar with federal criminal laws pertaining to

    narcotics violations. Your affiant knows that it is a violation of Title 21 U.S.C. § 841(a)(1) for

    any person knowingly or intentionally to manufacture, distribute, dispense, or possess with

    intent to manufacture, distribute, or dispense, a controlled substance. Your affiant knows that

    it is a violation of Title 21 U.S.C. § 846 for any person to conspire to manufacture, distribute,

    dispense, or possess with intent to manufacture, distribute, or dispense, a controlled substance.

    Your affiant knows that it is a violation of Title 18 U.S.C. § 922(a)(1)(A) for any person to be

    willfully engaged in the business of dealing/importing/manufacturing without a license.

    Furthermore, your affiant knows it is a violation of Title 18 U.S.C. § 922(g)(5) for any person

    who is an alien illegally and unlawfully in the United States to knowingly

    possess/ship/transport/receive a firearm/ammunition.
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 5. Based on the facts set forth in this affidavit, there is probable cause to believe that violations

    of Title 21 U.S.C §§ 841(a)(1) and 846 and Title 18 U.S.C. § 922(a)(1)(A) and 922(g)(5) have

    been committed, are being committed, and will be committed by Jesus CELESTIN-ORTEGA.

    There is also probable cause to believe that the information described in Attachment A will

    constitute evidence, as detailed in Attachment B, of these criminal violations and will lead to

    the identification of individuals who are engaged in the commission of these offenses.



 6. Based on your affiants training and participation in firearms investigation and narcotic

    investigations involving large amounts of illegal narcotics and U.S. currency your affiant

    knows:

       a.    Firearm and narcotic traffickers often hold assets in nominee names to conceal any

             connection between any such asset and themselves, attempting in this way to avoid

             detection of their illegal activities by law enforcement agencies.

       b.    Firearm and narcotic trafficking on the scale revealed in this investigation is frequently

             a continuing activity, and the traffickers’ inventory of firearms fluctuates depending on

             availability and demand. Additionally, firearm traffickers commonly front firearms, or

             provide them on consignment to their customers.          For all of these reasons, the

             traffickers must maintain books, receipts, notes, ledgers or some other type of record

             reflecting such transactions. Firearm and narcotic traffickers must keep their records

             in some secure, yet readily accessible, place where they can be used and maintained,

             such as in homes, offices, places of business, automobiles, safes or safe deposit boxes.

             Traffickers must keep these records of their illegal activities beyond the time during

             which firearms and/or narcotics are actually in their possession, so that they can
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           maintain contact with their criminal associates for future firearm and/or narcotics

           transactions and so that they can keep records of prior transactions for which they might

           be owed or owe inventory or money.

      c.   Firearm and narcotic traffickers commonly hide firearms, narcotics, firearm and/or

           drug proceeds, and records of their firearm and/or drug transactions in secure locations,

           such as those mentioned in paragraph (b) above, as well as in offices or places of

           business, garages, or storage buildings. Similarly, firearm and narcotics traffickers

           have ready access to these items, and attempt to conceal them from law enforcement

           agencies.

      d.   Firearm and narcotic traffickers commonly maintain addresses or telephone numbers

           in books or papers which reflect names, addresses, and telephone numbers for their

           firearm and/or narcotics trafficking associates. These items are sometimes in code.

      e.   Firearm and narcotics traffickers frequently have photographs of themselves, their

           associates, their property, firearms, and controlled substances, which are usually

           maintained in their homes, offices and place of business. Such photographs constitute

           evidence of their drug and firearm trafficking activities, establishing their connections

           with items of property with each other, and with drugs.

      f.   Firearm and narcotics traffickers involved in importation or transportation of firearm

           from source cities generally possess documentation, such as telephone records,

           correspondence, shipyard receipts, wire transfers, airline ticket receipts, and the like,

           which pertain to the acquisition, transportation, shipment, or receipt of, or payment for,

           firearms and/or controlled substances, and which evidences the trafficker(s)’

           participation in the illegal drug scheme.
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      g.   Firearm and narcotic traffickers often maintain some record of the movement of money,

           whether it is accomplished by wire or inter-bank transfer or by a person acting as a

           courier. Such records, even though they may be in code, are evidence of the trafficker’s

           illegal activities.

      h.   Firearm and narcotic traffickers often use false or fictitious names or corporations or

           other business entities to launder their firearm and/or narcotics proceeds and to send

           shipments of cash through the mail or other delivery services. Banks, both domestic

           and abroad, are sometimes utilized by traffickers or their agents though which proceeds

           from their illegal activities are laundered. Funds are frequently transferred between

           banks and various accounts to conceal their sources and origins. It is also common to

           obtain bearer or other negotiable instruments through foreign banks to avoid the

           necessity of filing currency transaction reports, in this manner concealing the fact of

           the transaction and the true ownership of the funds. Documents or records of any kind

           reflecting any connection with any such entity or transaction constitute evidence of the

           trafficker’s participation in the illegal scheme.

      i.   Firearm and narcotic traffickers frequently utilize a continuing pattern of activities to

           launder and conceal narcotics and/or firearm-generated proceeds and assets, which lasts

           over a period of years. Firearm and narcotics traffickers use these patterns or schemes

           to create the appearance of legitimate income so that they can eventually convert the

           proceeds or assets to themselves or to a nominee under their control. In this way, the

           traffickers can enjoy and use their properties while attempting to conceal their illegal

           activities which generated the proceeds or assets.
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       j.   Firearm and narcotic traffickers who deal in narcotics and illegal firearms often use cell

            phones to maintain contact with and receive text messages from their customers and

            suppliers and to further narcotics and/or firearm distribution activity.

       k.   Firearm and narcotic traffickers who deal in narcotics and/or illegal firearms often use

            firearms to protect their storage of drugs and/or firearms and the proceeds from sales of

            these drugs and/or firearms, and will often have the firearms closely available near these

            items. The information contained in this affidavit is based upon my personal

            observations and investigation, as well as on reports and statements of participating

            agents and investigators. This affidavit contains information necessary to support

            probable cause for this application. It is not intended to contain all information known

            by me or the government.




                                  FACTS OF THE INVESTIGATION

 7. Between the dates of April 9 and July 10, 2019, ATF undercover agents purchased illegal

    narcotics and firearms from Jesus CELESTIN-ORTEGA and Pablo GUTIERREZ. Your

    affiant notes that GUTIERREZ was the point of contact during the undercover operation up

    until his arrest (which is explained below) and CELESTIN-ORTEGA is the source of supply

    for the narcotics and firearms. Between the above dates, several narcotics and firearm

    transactions were made.



 8. On April 9, 2019, ATF undercover agents conducted a controlled purchase from CELESTIN-

    ORTEGA and GUTIERREZ. GUTIERREZ introduced ATF undercover agents, where ATF

    SA 5115 subsequently purchased two firearms, approximately eleven (11) grams of black tar
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    heroin, and approximately four hundred thirty-eight (438) grams of crystal methamphetamine

    from CELESTIN-ORTEGA and GUTIERREZ.



 9. On April 23, 2019, ATF undercover agents again conducted a controlled purchase from

    CELESTIN-ORTEGA and GUTIERREZ.              ATF SA 5115 purchased approximately four

    hundred fifty-seven (457) grams of crystal methamphetamine from CELESTIN-ORTEGA and

    GUTIERREZ.



 10. On May 16, 2019, GUTIERREZ was arrested by the Denver Police Department for possession

    of a firearm by a prohibited person and possession of narcotics. After the arrest, GUTIERREZ

    was advised of his Miranda rights, which he waived and agreed to make a statement. During

    the interview, GUTIERREZ was questioned about the firearm and narcotics that were found

    on him. GUTIERREZ stated that the firearm and narcotics came from CELESTIN-ORTEGA

    and he provided CELESTIN-ORTEGA’s cellular phone number.



 11. On May 28, 2019, ATF undercover agents conducted a controlled purchase from CELESTIN-

    ORTEGA. ATF SA 5115 purchased two (2) firearms and approximately one (1) ounce of

    cocaine from CELESTIN-ORTEGA.



 12. Prior to a meeting on June 12, 2019, between June 10, 2019 and June 12, 2019, SA 5115 and

    CELESTIN-ORTEGA exchanged text messages for the purposes of arranging the purchase of

    firearms and black tar heroin. On June 10, 2019, at approximately 2:17 p.m., CELESTIN-

    ORTEGA sent SA 5115 three (3) text messages of a firearm (FIG 1. FIG 2 and FIG 3). Also,
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    at approximately 3:11 p.m., SA 5115 sent a text message to CELESTIN-ORTEGA asking

    about the “negra.” In this context, “negra” is a Spanish street vernacular term, commonly used

    to refer to black tar heroin. At approximately 3:31 p.m., CELESTIN ORTEGA replied to SA

    5115 stating, “Well I have it…” and asked SA 5115 when he wanted it.



 13. On June 12, 2019, ATF undercover agents conducted an undercover controlled purchase from

    CELESTIN-ORTEGA. ATF SAs purchased two (2) firearms and approximately two hundred

    and thirteen (213) grams of black tar heroin from CELESTIN-ORTEGA. The below photo

    (FIG 4) is of the two (2) firearms purchased by ATF uncover agents from CELESTIN-

    ORTEGA on June 12, 2019. It should be noted that one (1) of the firearms in the photo is the

    same from the photos CELESTIN-ORTEGA sent to SA 5115 on June 10, 2019.




                          FIG 1                         FIG 2
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                         FIG 3                          FIG 4

 14. ATF SAs subsequently received historical geolocation information on CELESTIN-

    ORTEGA’s cellular phone, identifiable as (720) 828-1484. This is the same phone number

    which CELESTIN-ORTEGA used to arrange the purchase of heroin and firearms with SA

    5115. Based on location information, on June 10, 2019, between the time of 2:14 p.m. and

    3:38 p.m. when the photos of the firearm and text messages about the heroin were sent,

    CELESTIN-ORTEGA’S cellular phone was at the TARGET LOCATION, which can be

    verified by geo-mapping photos, as shown below. This is the location which was

    subsequently identified as CELESTIN-ORTEGA’s residence. The images below (FIG 5 and

    FIG 6) show the radius in which the cellular device, belonging to CELESTIN-ORTEGA,

    was located during the time of the conversation. This image helps to better visualize the fact

    that CELESTIN-ORTEGA’S residence and CELESTIN-ORTEGA’S cellular phone were

    located in the same location. Based on training and experience, your affiant believes that

    CELESTIN-ORTEGA took the photos of the firearm in the TARGET LOCATION and sent

    them to SA 5115 and your affiant believes that CELESTIN-ORTEGA was storing the heroin

    in the TARGET LOCATION.
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                       FIG 5                                        FIG 6


  15. On July 10, 2019, ATF undercover agents conducted a controlled purchase from CELESTIN-

     ORTEGA. ATF SA 5115 purchased ten (10) firearms and approximately 3.4 grams of fentanyl

     pills from CELESTIN-ORTEGA.



  16. On July 31, 2019, ATF SAs and ATF Task Force Officers (TFO) established surveillance on

     CELESTIN-ORTEGA. At approximately 0930 hours, the surveillance team observed

     CELESTIN-ORTEGA’s known green Ford F150 (CO/OBZ689) parked in front of building 16

     at the Gateway Park Apartments located at 4255 Kittredge Street, Denver, CO.               At

     approximately 1002 hours, CELESTIN-ORTEGA exited the area between buildings 14 and

     15, entered the Ford F150 and departed the area. At approximately 1556 hours, CELESTIN-

     ORTEGA parked his vehicle in front of building 15 located at 4255 Kittredge Street.

     CELESTIN-ORTEGA exited the vehicle and entered the TARGET LOCATION.



  17. ATF SAs have received historical geolocation information on CELESTIN-ORTEGA’s cellular

     phones since the early part of June 2019 at the late hours of the night and early hours of the
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     morning, the geolocation information has consistently been in the vicinity of the TARGET

     LOCATION. Current geolocation information of CELESTIN-ORTEGA’s cellular phone on

     July 31 through August 3, between the hours of 12:00 a.m. and 8:00 a.m. and August 5-7,

     2019, between the hours of 10:00 p.m. and 8:00 a.m., CELESTIN-ORTEGA’s cellular phone

     has consistently been in the vicinity of the TARGET LOCATION. Furthermore, surveillance

     has observed CELESTIN-ORTEGA enter and exit the TARGET LOCATION on July 31, 2019

     and on August 6, 2019. Based on my training and experience, your affiant believes this in an

     indication that CELESTIN-ORTEGA uses the TARGET LOCATION as his primary

     residence.



  18. On August 6, 2019, at approximately 1:01 p.m., surveillance observed CELESTIN-ORTEGA

     exit the TARGET LOCATION, enter his known red Suburban (CO/CIN505), and depart the

     area. At approximately 1:51 p.m., CELESTIN-ORTEGA arrived at the meet location in the

     red Suburban where he advised ATF undercover agents that the pre-arranged narcotics deal

     for one (1) kilogram of china white heroin, ten (10) pounds of methamphetamine and ten (10)

     AR type firearms would not take place due to one of CELESTIN-ORTEGA’s associates being

     arrested by law enforcement and all of his supply (firearms and narcotics) being moved to a

     unknown location or seized by law enforcement.       CELESTIN-ORTEGA provided ATF

     undercover agents with a phone number (832) 836-0126 which SA 5115’s cousin; an ATF

     undercover agent hereinafter referred to as SA 4155, who is located in Dallas, TX was to

     contact to pick up five (5) kilograms of methamphetamine. ATF undercover agents and

     CELESTIN-ORTEGA coordinated a future firearms and narcotics transaction to take place on

     August 13, 2019 at the meet location. Prior to leaving the meet location, CELESTIN-
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     ORTEGA advised ATF undercover agents that the caretaker of his stash house was arrested

     by immigration officials for illegally being in the United States. Furthermore, CELESTIN-

     ORTEGA advised ATF undercover agents that he was unable to contact or visit his caretaker

     because he is also illegally present in the United States and he does not want to run the risk of

     being arrested by immigration officials. CELESTIN-ORTEGA then showed ATF undercover

     agents suspected narcotics and a HK pistol both of which were in the red Suburban.



  19. Based on training and experience, your affiant believes CELESTIN-ORTEGA exited the

     TARGET LOCATION with the suspected narcotics and firearm because he drove from the

     TARGET RESIDENCE to meet with agents where he clearly possessed both a firearm and

     suspected narcotics.   Thus, there is probable cause to believe that the TARGET LOCATION

     will contain the items details in Attachment B. This is true despite CELESTINE-ORTEGA’s

     statements regarding the recent loss of his stash of firearms and narcotics. Given his patterns

     of behavior, including the text messages of firearms and his transport of narcotics and a firearm

     to meet with agents, there is probable cause to believe that the items specified in Attachment

     B will be located in the TARGET RECIDENCE. As detailed above, firearm and narcotic

     traffickers store firearms, narcotics, the proceeds of sales of firearms/narcotics, and other

     indicia of firearm/drug trafficking in their residence. Not only has CELESTIN-ORTEGA

     demonstrated that he is a firearm and drug trafficker, but given your affiant’s experience and

     training regarding traffickers like CELESTIN-ORTEGA, your affiant believes that the

     TARGET LOCATION will contain the items specified in Attachment B.
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                                           CONCLUSION

  20. Based on the foregoing, there is probable cause to believe that contained within the residence

     identified as 4255 Kittredge Street, Apartment 1511, Denver, CO, is evidence that has been

     used in the commission of a crime and constitutes evidence, fruits, and instrumentalities of

     violations of Title 21 U.S.C §§ 841(a)(1) and 846 and Title 18 U.S.C. § 922(a)(1)(A) and

     922(g)(5). With the above information, your affiant formally requests the issuance of a search

     warrant for the aforementioned premises.

  21. Pursuant to Rule 41(e)(2)(A)(i) of the Federal Rules of Criminal Procedure, your affiant

     understands and will act in accordance with the following: an agent is required to file with the

     courts an inventory return, that is, and itemized list of the property seized, within fourteen (14)

     days of the execution of the warrant.

  22. The statements made in this affidavit are made based on your affiant’s personal observations

     and investigation, and information communicated or reported to me during the investigation

     by other participants in the investigation, as the content of this affidavit indicates.

  I declare under penalty and perjury that the foregoing is true and correct to the best of my
  knowledge.

                                         s/Keith Wilson
                                         Keith Wilson, Special Agent
                                         Bureau of Alcohol, Tobacco, Firearms and Explosives
                                                                                13th day of
  Submitted, attested to, and acknowledged by reliable electronic means on this ____
  August, 2019.


                                         ________________________________
                                         Honorable Nina Y. Wang
                                         United States Magistrate Judge

  This application and affidavit was reviewed and submitted by AUSA Pegeen Rhyne.
